AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                 u Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                         for the
                                                             Eastern District
                                                          __________  DistrictofofWisconsin
                                                                                   __________

                  In the Matter of the Search of                            )
             (Briefly describe the property to be searched                  )
              or identify the person by name and address)                   )      Case No.0 1-
                           MARKEITH PHIPPS                                  )
              DOB: XX/XX1988, USMS No. 16040-089,
                   housed at Milwaukee County Jail,
                                                                            )
                         Milwaukee, Wisconsin.                              )

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To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                         Eastern   District of            Wisconsin
(identify the person or describe the property to be searched and give its location):
  MARKEITH PHIPPS
  DOB: XX/XX1988, USMS No. 16040-089,
  housed at Milwaukee County Jail, Milwaukee, Wisconsin.



        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
  Saliva and epithelial cells (to be take via a buccal swab) that are evidence of a violation of Title 18, United States Code,
  Sections 922(g)(1)




          YOU ARE COMMANDED to execute this warrant on or before                       (not to exceed 14 days)
      ✔ in the daytime 6:00 a.m. to 10:00 p.m.
      u                                  u at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                          Nancy Joseph                       .
                                                                                                  (United States Magistrate Judge)

     u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     u for         days (not to exceed 30) u until, the facts justifying,
                                                                       g, the llater
                                                                                a er specific date of
                                                                                at                                                     .


Date and time issued:#SP
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City and state:             Milwaukee, Wisconsin                                          Nancy
                                                                                          N     JJoseph,
                                                                                                      h UU.S.
                                                                                                           S MMagistrate
                                                                                                                 i t t Judge
                                                                                                                         J d
                                                                                                        Printed name and title
                             Case 2:24-mj-00861-NJ Filed 06/13/24 Page 1 of 11 Document 1
                                    ATTACHMENT A

                                   Person to Be Searched

Markeith PHIPPS with a corresponding birthdate of June 14, 1988.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

Saliva and epithelial cells to be taken via buccal swab.




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AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:

Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title




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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Matthew Mason, being first duly sworn on oath, on information and belief state:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of a search warrant application seeking buccal

swabs/DNA exemplars/samples from the person of Markeith D. PHIPPS, DOB: 6/14/1988.

PHIPPS is currently housed at the Milwaukee County Jail. The requested buccal swabs/DNA

exemplars/samples will be utilized for DNA comparison purposes with evidence related to a

firearm recovered on September 9, 2022, from 3281 N. 1st Street, Milwaukee, Wisconsin.

       2.      I am a federal law enforcement officer employed by the Bureau of Alcohol,

Tobacco, Firearms and Explosives and I am currently assigned to the U.S. Marshals Service –

Fugitive Task Force. I have been a law enforcement officer for over 20 years.

                                          JURISDICTION

       3.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

                                           PROBABLE CAUSE

       4.      Affiant’s application for this search warrant is based upon an investigation where

on September 9, 2022, Affiant, along with other Task Force Officers and United States Marshals

Service Deputies, executed an arrest warrant for Markeith D. PHIPPS (DOB:6/14/1988), at 3281

N. 1st Street, Milwaukee, Wisconsin. Prior to making entry, law enforcement officers determined




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that PHIPPS, the target of the arrest warrant, was located inside the residence at 3281 N. 1st

Street, Milwaukee, Wisconsin.

       5.       While executing the arrest warrant for PHIPPS on September 9, 2022, members

of the United States Marshals Service located PHIPPS inside the residence in a bedroom, and

observed that in plain view, next to PHIPPS' side of the bed, was a HK 416 .22 caliber pistol.

That this firearm was later placed into U.S. Marshals Service evidence.

       6.       Affiant knows PHIPPS is prohibited from possessing firearms and/or ammunition

because he has previously been convicted of felony offenses. A review of PHIPPS’s criminal

history reveals that these convictions remain of record and unreversed.

       7.       Affiant is further aware that as a result of items found during the arrest of

PHIPPS, on or about December 20, 2022, a grand jury sitting in the Eastern District of

Wisconsin returned a two-count Indictment against PHIPPS. In United States v. Phipps, Case

No. 22-CR-265, PHIPPS is charged with possessing a firearm as a convicted felon in violation of

Title 18, U.S.C. Section 922(g)(1) and possession of cocaine with the intent to distribute in

violation of Title 21, U.S.C. Sections 841(a)(1) and 841(b)(1)(C).

       8.       Affiant is aware that the recovered firearm was swabbed for DNA samples by the

Milwaukee County Sherriff’s Office. The three swabs from the firearm were placed into United

States Marshals Service evidence.

       9.       Affiant knows that analysts from the Wisconsin State Crime Laboratory can

extract DNA from biological substances left at crime scenes, left on physical evidence, or left on

known individuals.

       10.      Affiant knows that based upon testing to these biological substances, the crime

lab analyst can draw conclusions to a reasonable degree of scientific certainty that a particular

                                                 2



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individual may be the source of DNA found on items found at a crime scene or left on physical

evidence.

       11.      Affiant knows that epithelial cells contain DNA and that epithelial cells are

present in the lining of the mouth.

       12.      Affiant knows that it is possible to extract DNA from these epithelial cells.

Affiant is further aware that these cells can be analyzed, and based upon the analysis determine

whether foreign DNA is present on a victim or property that was left behind from a suspect.

       13.      Affiant knows that the Wisconsin State Crime Laboratory analysts can compare

DNA recovered from the buccal swabs of Markeith D. PHIPPS (DOB: 06/14/1988) to the DNA

samples that were obtained by forensic investigators during the course of investigations.

       14.      Affiant believes that there is probable cause to believe that buccal swabs (DNA)

from Markeith D. PHIPPS (DOB: 06/14/1988) will further confirm his possession of the

recovered firearm. Affiant knows PHIPPS is currently located at the Milwaukee County Jail,

located at 949 N. 9th Street, in the City and County of Milwaukee, Wisconsin.

       15.      That your affiant is aware that the analyst at the Wisconsin Regional Crime

Laboratory needs the Standard DNA sample from Markeith D. PHIPPS (DOB: 6/14/1988) for

comparison and/or confirmatory purposes to the DNA recovered from the firearm.

                                             CONCLUSION

       16.      Based upon the foregoing, probable cause exists to believe that evidence exists

related to Possession of a Firearm by a Felon in violation of 18 U.S.C. § 922(g)(1); specifically,

salvia and epithelial cells to be obtained via buccal swabs from Markeith PHIPPS, (DOB: June

14, 1988). I further believe that by taking oral swabs from the inside of PHIPPS’s cheek this

evidence can now be compared to the DNA samples obtained from the firearm found at 3281 N.
                                                 3



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1st Street, Milwaukee, Wisconsin, which PHIPPS is charged with possessing, as a felon, on

September 9, 2022.




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                                    ATTACHMENT A

                                   Person to Be Searched

Markeith PHIPPS with a corresponding birthdate of June 14, 1988.




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                                       ATTACHMENT B

                                 Particular Things to be Seized

Saliva and epithelial cells to be taken via buccal swab.




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